Case 1:21-cv-00201-JMS-MG Document 60 Filed 08/16/21 Page 1 of 3 PageID #: 304




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               TERRE HAUTE DIVISION

KEVIN JOHNSON,                               )
                                             )
       Plaintiff,                            )
                                             )
               v.                            ) CAUSE NO. 1:21-cv-201-JMS-MG
                                             )
JOHN PURDUE, et al.,                         )
                                             )
       Defendants.                           )

         DEFENDANTS’ RESPONSE TO MOTION FOR INTERVENTION AND
                            FOR HEARING

       Defendants Robert E. Carter Jr. and Dushan Zatecky, by counsel Deputy Attorney General

Andrew Kirtley, respond in opposition to Plaintiff’s motion for intervention and for hearing, and

request that his motion be denied. In opposition, defendants state as follows:

   1. On August 2, 2021, Plaintiff filed a motion for intervention and for hearing. [ECF 59] As

       he is the pro se Plaintiff in this action, he cannot intervene in this lawsuit. Accordingly,

       his motion generally seeks a hearing. [See id., generally]

   2. In his motion, Plaintiff makes various baseless and unsupported allegations against

       “defendant Carter’s office” and asserts his transfer was done with undersigned counsel’s

       knowledge. [Id. ¶ ¶ 3, 4] These baseless accusations are categorically false.

   3. Plaintiff admits that he did not draft and file his motion with the Court, but instead another

       individual submitted this motion with his signature. [Id. ¶ 4] Under Rule 11, “[e]very

       pleading, written motion, and other paper must be signed by at least one attorney of record

       in the attorney's name—or by a party personally if the party is unrepresented.”

   4. In his filing, “Plaintiff swears to the truth of the foregoing under penalty of perjury.” [ECF

       59 ¶ 6] Plaintiff should be sanctioned for his attempted fraud upon the Court. “Courts may
Case 1:21-cv-00201-JMS-MG Document 60 Filed 08/16/21 Page 2 of 3 PageID #: 305




       impose appropriate sanctions, including dismissal or default, against litigants who violate

       discovery rules and other rules and orders designed to enable judges to control their dockets

       and manage the flow of litigation.” Hoskins v. Dart, 633 F.3d 541, 543 (7th Cir. 2011).

   5. A hearing on this matter would be futile, as Plaintiff only requests the return of his items.

       The Indiana Department of Correction is sending the items to Virginia, as they have been

       informed by the Ohio Department of Rehabilitation and Correction that they are

       transferring Plaintiff already based on his conduct. This is normal for Plaintiff as he has

       now been transferred at least seven times since 2012 for his conduct. [See ECF 59 ¶ 2] The

       items are on a large pallet ready to be sent.

   6. Counsel for Medical Defendants were contacted and agree that a hearing should not occur.

       WHEREFORE defendants Robert E. Carter Jr. and Dushan Zatecky request that the motion

be denied.

                                                             Respectfully submitted,

                                                             Theodore E. Rokita
                                                             Indiana Attorney General
                                                             Attorney No. 18857-49


Dated: August 16, 2021                                 By:   W. Andrew Kirtley
                                                             Deputy Attorney General
                                                             Attorney No. 35027-49


Office of the Indiana Attorney General
Indiana Government Center South, 5th Floor
302 W. Washington St.
Indianapolis, IN 46204-2770
Phone: (317) 232-7144
Fax: (317) 232-7979
Email: Andrew.Kirtley@atg.in.gov
Case 1:21-cv-00201-JMS-MG Document 60 Filed 08/16/21 Page 3 of 3 PageID #: 306




                                 CERTIFICATE OF SERVICE

       I certify that on August 16, 2021, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system. Notice of this filing will be sent to all registered parties by

operation of the Court’s electronic filing system.

       I further certify that on August 16, 2021, a copy of the foregoing was mailed, by first-class

U.S. Mail, postage prepaid, to the following non CM/ECF participant:

               Offender Kevin Johnson
               #A787991
               Ohio Correctional Reception Center
               P.O. Box 300
               11271 St. Rt 762
               Orient, OH 43146



                                                     W. Andrew Kirtley
                                                     Deputy Attorney General

Office of the Indiana Attorney General
Indiana Government Center South, 5th Floor
302 West Washington Street
Indianapolis, IN 46204-2770
Phone: (317) 232-7144
Fax: (317) 232-7979
Email: Andrew.Kirtley@atg.in.gov
